                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

  UNITED STATES OF AMERICA                             )
                                                       )
  v.                                                   )      No. 4:18-cr-00012-001-TRM-CHS
                                                       )
  JOSHUA ADAM TALLEY                                   )

                                 MEMORANDUM AND ORDER

         JOSHUA ADAM TALLEY (“Defendant”), came before the Court for an initial appearance
  on November 3, 2021, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure
  on the Petition for Warrant for Offender under Supervision (“Petition”) [Doc. 126].

          After being sworn in due form of law, Defendant was informed of his privilege against
  self-incrimination under the 5th Amendment and his right to counsel under the 6th Amendment to
  the United States Constitution.

          The Court determined Defendant wanted to be represented by an attorney and that he
  qualified for the appointment of an attorney to represent him at government expense.
  Consequently, the Court APPOINTED Attorney Everett Hoagland of Federal Defender Services
  of Eastern Tennessee, Inc., to represent Defendant.

         Defendant was furnished with a copy of the Petition, and had an opportunity to review that
  document with his attorney. The Court determined that Defendant was able to read and understand
  the Petition with the assistance of his counsel. In addition, AUSA Scott Winne explained to
  Defendant the specific charges contained in the Petition. Defendant acknowledged that he
  understood the charges in the Petition.

          The Government moved Defendant be detained pending disposition of the Petition or
  further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
  detention hearing and what those hearings entail. Defendant conferred with his counsel and
  waived the preliminary hearing and detention hearing.

          The Court finds that probable cause exists to demonstrate that Defendant has committed
  violations of his conditions of supervised release, and that Defendant has not carried the burden
  of establishing by clear and convincing evidence that he will not flee or pose a danger to any
  other person or to the community. Consequently, the Court GRANTED the Government’s oral
  motion to detain Defendant pending disposition of the Petition or further Order of this Court.


         It is, therefore, ORDERED that:

             1. Counsel for Defendant and the Government shall confer and make best



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              efforts to submit to the United States District Judge a proposed Agreed
              Order with respect to an appropriate disposition of the Petition for Warrant
              for Offender Under Supervision.

           2. In the event counsel are unable to reach agreement with respect to an
              appropriate disposition of the Petition for Warrant for Offender Under
              Supervision, they shall request a hearing before the United States District
              Judge.

           3. The Government’s motion that Defendant be DETAINED WITHOUT
              BAIL pending further Order of this Court is GRANTED.

        ENTER

                                            /s/ Christopher H. Steger
                                            UNITED STATES MAGISTRATE JUDGE




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